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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAMHITA GERA, Individually and on Behalf
of All Others Similarly Situated,

                 Plaintiff,
                                                   Case No.: 1:23-cv-07908-DLC
v.
                                                   Hon. Denise L. Cote
UiPATH, INC., DANIEL DINES, and ASHIM
GUPTA,

                 Defendants.


 NOTICE OF WITHDRAWAL OF YOUNG KWON’S MOTION FOR APPOINTMENT
     AS LEAD PLAINTIFF AND APPROVAL OF SELECTION OF COUNSEL

        TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR RESPECTIVE

ATTORNEYS OF RECORD:

        PLEASE TAKE NOTICE that Young Kwon (“Movant”) hereby withdraws his Motion

for Appointment as Lead Plaintiff in the above-captioned action (the “Action”) and Approval of

Selection of Counsel. See ECF No. 20. This withdrawal shall have no impact on Movant’s

membership in the putative class and his right to share in any recovery obtained for the benefit of

the class members. If the Court decides that the present movants are either inadequate or atypical

and, therefore, unable to represent the class, Movant stands ready, willing and able to serve as lead

plaintiff.



Dated: November 8, 2023                               Respectfully Submitted,

                                                      LEVI & KORSINSKY, LLP

                                                      By: /s/ Adam M. Apton
                                                      Adam M. Apton (AS-8383)
                                                      33 Whitehall Street, 17th Floor
                                                      New York, NY 10004
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                                  Lead Counsel for Young Kwon




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